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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                         CASE NO. 21-60020-CR-DIMITROULEAS

           Plaintiffs,

  vs.

  JONATHAN MARKOVICH, and
  DANIEL MARKOVICH,

        Defendants.
  _______________________________________/

                                        OMNIBUS ORDER

           THIS CAUSE came before the Court upon the Defendants’ Motions Asserting Crime

  Victims’ Rights (Restitution) for Totillo [DE-408], Holloway [DE-426] and McMurray [DE-

  471] and for the reasons set forth at the evidentiary hearing sentencing hearing on March 18,

  2022, and the Court having considered the motions and being fully advised in the premises, it is

  hereby

           ORDERED AND ADJUGED that the Motions [DE-408, 426, 471] are Denied.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  21st day of March, 2022.




  Copies furnished to:

  Counsel of Record
